             Case 2:15-cr-00395-JLR Document 99 Filed 09/07/16 Page 1 of 3




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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR15-395-JLR
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            ORDER REVOKING RELEASE
11   MAZIAR REZAKHANI,                    )            18 U.S.C. §§3148(b) and 3143(A)
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14          The United States moved for revocation of defendant’s release, alleging violation of the

15 conditions of release (Dkt. 85-87, 89, 97). The defendant admitted to alleged violations 3, 5,

16 and 6 at a hearing on August 25, 2016, and the government moved to dismiss alleged violation

17 1. The Court found the government did not establish a prima facie case for alleged violation 4,

18 and the violation was dismissed. An evidentiary hearing was held on August 25 and September

19 7, 2016, and the Court found the defendant committed alleged violation 2.       The government

20 moved to dismiss alleged violation 7, in light of the Court’s revocation of defendant’s release.

21          Based upon all of the evidence presented at the hearings, the Court finds that defendant

22 has violated the conditions of pre-trial release as follows:


     ORDER REVOKING RELEASE
     18 U.S.C. §§3148(b) and 3143(A)
     PAGE -1
             Case 2:15-cr-00395-JLR Document 99 Filed 09/07/16 Page 2 of 3




01          1.     Defendant has violated a condition of his bond directing him not to have direct

02 or indirect contact with Anna O’Leary, by having contact with her on or about July 22, 23,

03 August 16, and 17, 2016.

04          2.     Defendant has violated a condition of his bond requiring him to abide by all

05 program requirements of the Location Monitoring Program with active Global Positioning

06 Satellite (GPS) technology, by leaving his residence without permission, on or about August

07 17, 2016.

08          The Court finds that there are no conditions or combination of conditions which will

09 assure that defendant will appear and will not pose a danger to other persons, if released again,

10 and further finds that defendant is unlikely to abide by any condition or combination of

11 conditions set by the Court.

12          It is therefore ORDERED, that defendant’s bond is REVOKED, pursuant to 18 U.S.C.

13 §3148(b) and that:

14      1. Defendant shall be detained pending sentencing and committed to the custody of the

15          Attorney General for confinement;

16      2. Defendant shall be afforded reasonable opportunity for private consultation with

17          counsel;

18      3. On order of the United States or on request of an attorney for the Government, the

19          person in charge of the corrections facility in which defendant is confined shall deliver

20          the defendant to a United States Marshal for the purpose of an appearance in connection

21          with a court proceeding; and

22      4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel


     ORDER REVOKING RELEASE
     18 U.S.C. §§3148(b) and 3143(A)
     PAGE -2
            Case 2:15-cr-00395-JLR Document 99 Filed 09/07/16 Page 3 of 3




01         for the defendant, to the United States Marshal, and to the United State Pretrial Services

02         Officer.

03         DATED this 7th day of September, 2016.

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05                                                       A
                                                         Mary Alice Theiler
06                                                       United States Magistrate Judge

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     ORDER REVOKING RELEASE
     18 U.S.C. §§3148(b) and 3143(A)
     PAGE -3
